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8                              UNITED STATES DISTRICT COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

10

11     TIMOTHY YOUNG,                            Case No. 2:21-04384 SSS (ADS)

12                               Petitioner,

13                               v.              JUDGMENT

14     RON BROOMFIELD,

15                               Respondent.

16

17           Pursuant to the Court’s Order Accepting United States Magistrate Judge’s Report

18     and Recommendation, the Court adjudges the Petition denied with prejudice.

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       DATED: April 30, 2024          ____________________________________
21                                    THE HONORABLE SUNSHINE S. SYKES
                                      United States District Judge
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